            Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 1 of 40




                               No. 25-2120
                                  IN THE
             UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT

 NATIONAL TPS ALLIANCE, MARIELA GONZALEZ, FREDDY
  JOSE ARAPE RIVAS, M.H., CECILIA DANIELA GONZALEZ
    HERRERA, ALBA CECILIA PURICA HERNANDEZ, ER.
HENDRINA VIVAS CASTILLO, A.C.A., SHERIKA BLANC, VILES
                DORSAINVIL, and G.S.,
                  Plaintiffs-Appellees,
                                       vs.

  KRISTI NOEM, in her official capacity as Secretary of Homeland
   Security, UNITED STATES DEPARTMENT OF HOMELAND
        SECURITY, and UNITED STATES OF AMERICA,
                     Defendants-Appellants.

        ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
      NORTHERN DISTRICT OF CALIFORNIA, NO. 3:25-cv-0l766-EMc
                      HONORABLE EDWARD M. CHEN


     RESPONSE IN OPPOSITION TO DEFENDANTS-
  APPELLANTS' MOTION FOR A STAY PENDING APPEAL
Emilou MacLean (SBN 319071)                  Ahilan T. Arulanantham (SBN 237841)
emaclean@aclunc.org                          arulanantham@law.ucla.edu
Michelle (Minju) Y. Cho (SBN 321939)         Stephany Martinez Tiffed (SBN 341254)
mcho@aclunc.org                              martineztiffer@law.ucla.edu
Amanda Young (SBN 359753)                    CENTER FOR IMMIGRATION LAW
ayoung@aclunc.org                            AND POLICY, UCLA SCHOOL OF
ACLU FOUNDATION                              LAW 385 Charles E. Young Dr. East
OF NORTHERN CALIFORNIA                       Los Angeles, CA 90095
39 Drumm Street                              Telephone: (310) 825-1029
San Francisco, CA 94111-4805
Telephone: (415) 621-2493

                      Attorneys for Plaintiffs-Appellees
           Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 2 of 40




Additional Counsel for Plaintiffs-Appellees

Jessica Karp Bansal (SBN 277347)
jessica@ndlon.org
Lauren Michel Wilford
lwilfong@ndlon.org
NATIONAL DAY LABORER
ORGANIZING NETWORK
1030 S. Arroyo Parkway, Suite 106
Pasadena, CA 91105
Telephone: (626) 214-5689

Eva L. Beltran (SBN 302081)
ebitran@aclusoca1.org
ACLU FOUNDATION
OF SOUTHERN CALIFORNIA
1313 West 8th Street
Los Angeles, CA 90017
Telephone: (213) 977-5236

Erik Crew
ecrew@haitianbridge.org
HAITIAN BRIDGE ALLIANCE
4560 Alvarado Canyon Road, Suite 1H
San Diego, CA 92120
Telephone: (949) 603-7411
              Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 3 of 40




                            TABLE OF CONTENTS

INTRODUCTION ............................................................................ l
JURISDICTIONAL STATEMENT ................................................. 4
STANDARD OF REVIEW ............................................................... 4
ARGUMENT .................................................................................... 6
    I.   DEFENDANTS CANNOT SHOW A "STRONG
         LIKELIHOOD" OF SUCCESS ON THE MERITS. . . . 6
         A. Defendants Cannot Show Likely Success on
             the APA Claims. ................................................... 6
             l.       Settled Precedent Supports Plaintiffs'
                      Lack-of-Vacatur-Authority Claim. ............. 6
         B.  Plaintiffs' Arbitrary and Capricious Claim
             Stands Unchallenged. ........................................ 1 3
    II. DEFENDANTS CANNOT SHOW A "STRONG
         LIKELIHOOD" OF PREVAILING ON THE
         DISCRIMINATION CLAIM. ...................................... 1 5
    111. THE COURT GRANTED APPROPRIATE
         RELIEF. ....................................................................... 20
         A. The Order Does Not Violate 8 U.S.C.
             1252(f)<1> . ............................................................ 2 0
         B. The Requested Relief Is Not Overbroad.                                          21
    IV. DEFENDANTS FAIL TO SHOW IRREPARABLE
         HARM, AND THE EQUITIES FAVOR
         POSTPONEMENT. ..................................................... 2 4
CONCLUSION ............................................................................... 27




                                              i
              Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 4 of 40




                          TABLE OF AUTHORITIES
                                                                                   Page(s)
Cases
Al Otto Ludo U. Wolf,
   952 F.3d 999 (9th Cir. 2020) .................................................. 5, 24
Ala. Ass'n of Realtors U. HHS,
  594 U.S. 758 (2021) .................................................................... 22
Am. Trucking Ass'ns U. Frisco Transp. Co.,
  358 U.S. 133 (1958) .................................................................... 1 2
Barr u. East Bay Sanctuary Covenant,
  140 S. Ct. 3 (2019) ...................................................................... 22

Biden U. Missouri,
   145 S. Ct. 109 (2024) .................................................................. 22

Biden U. Texas,
   597 U.S. 785 (2022) .................................................................... 21
Bowen U. Mich. Acid. of Fam. Physicians,
  476 U.S. 667 (1986) .................................................................... 20

Career Coils. & Selfs. of Tex. U. Dep 't of Educ. ,
  98 F.4th 220 (5th Cir. 2024)....................................................... 21
CASA, Inc. U. Trump,
    F.4th "'7 2025 WL 654902 (4th Cir. Feb. 28, 2025) .                                    22

China Unicom (Ams.) Operations Ltd. U. FCC,
  124 F.4th 1128 (9th Cir. 2024)................................................... I I

Cooper U. Harris,
  581 U.S. 285 (2017) .......................................................... 5, 15, 17
Corner Post, Inc. U. Bd. of Governors offed. Rsrv. Sys.,
  603 U.S. 799 (2024) .................................................................... I I



                                              ii
              Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 5 of 40




DHS U. Regents of the Univ. of Cal.,
  591 U.S. l (2020) ........................................................................ 1 4

Doe #1 U. Trump,
  957 F.3d 1050 (9th Cir. 2020) .................................... 5,18,24,25

E. Bay Sanctuary Covenant U. Barr,
   934 F.3d 1026 (9th Cir. 2019) .................................................... 22

E. Bay Sanctuary Covenant U. Biden,
   993 F.3d 640 (9th Cir. 2021) ............................................ 5, 21, 25

E. Bay Sanctuary Covenant U. Trump,
   932 F.3d 742 (9th Cir. 2018) ...................................................... 25

Gebhardt U. Nielsen,
  879 F.3d 980 (9th Cir. 2018) ...................................................... 1 0
Gorbach U. Reno,
  219 F.3d 1087 (9th Cir. 2002) (en bane) .................................... I I
Immigrant Assistance Project of AFL-CIO U. INS,
  306 F.3d 842 (9th Cir. 2002) ........................................................ 9
Jennings U. Rodriguez,
  583 U.S. 281 (2018) .................................................................... 1 0

US. ex rel. Knauff U. Shaughnessy,
  338 U.S. 537 (1950) .................................................................... 2 5

Magallanes-Damian U. INS,
  783 F.2d 931 (9th Cir. 1986) ........................................................ 8
MeNary U. Haitian Refugee Ctr., Inc.,
  498 U.S. 479 (l99l) ...................................................................... 8

Microsoft Corp. U. Motorola, Inc.,
   696 F.3d 872 (9th Cir. 2012) ........................................................ 5

Nat'l Urb. League U. Ross,
  977 F.3d 698 (9th Cir. 2020) .................................................. 6, 26


                                              iii
              Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 6 of 40




inken U. Holder,
   556 U.S. 418 (2009) .......................................................... 4, 21, 26

Patel U. Garland,
  596 U.S. 328 (2022) ...................................................................... 9

Perez U. United States,
  No. 24A403, 2024 WL 4772734 (U.S. Nov. 12, 2024) .                                       22

Poursina U. USCIS,
  936 F.3d 868 (9th Cir. 2019) ...................................................... 19
Ramos U. Wolf,
  975 F.3d 872 (9th Cir.) ................................................. 7, 9, 19, 26
Regents of the Univ. of Cal. U. DHS,
  908 F.3d 476 (9th Cir. 2018) ...................................................... 18
Reno U. Cath. Soc. Servs., Inc.,
  509 U.S. 43 (1993) ........................................................................ 9
Texas U. Biden,
  646 F. Supp. 3d 753 (N.D. TeX. 2022)........................................ 21

Texas U. United States,
  40 F.4th 205 (5th Cir. 2022)......................................................... 4

Texas U. United States,
  50 F.4th 498 (5th Cir. 2022>....................................................... 20

Trump U. Hawaii,
   585 U.S. 667 (2018) .............................................................. 17, 18
United States U. Texas,
  599 U.S. 670 (2023) .................................................................... 22

United States U. Yildiz,
  355 F.3d 80 (2d Cir. 2004)............................................................ 8

Viii. of Arlington Heights U. Metro. Housing Dev. Corp.,
   429 U.S. 252 (1977) .............................................................. 17, 19


                                              iv
               Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 7 of 40




Washington U. Trump,
  847 F.3d 1151 (9th Cir. 2017) ...................................................... 6

Washington U. Trump,
 No. 25-807, 2025 WL 553485 (9th Cir.
 Feb. 19, 2025) ....................................................... 4,21,22,24,25
Wilkinson U. Garland,
  601 U.S. 209 (2024) ...................................................................... 9

Statutes
8 U.S.C. l252(a)(2)(A)(i) ............................................................... 8, 9

8 U.S.C. l252(b)(9) ............................................................................ 8
8 U.S.C. 1252(f)<1>................................................................... 3, 4, 20

8 U.S.C. l254a(b)(3) ........................................................................ 12
8 U.S.C. l254a(b)(5) .......................................................................... 6

8 U.S.C. l254a(c)................................................................. 13, 25, 26
28 U.S.C. l292(a)(l) .......................................................................... 4

Other Authorities
8 C.F.R. 244.14 ................................................................................ 26
73 Fed. Reg. 57128 .......................................................................... 14
78 Fed. Reg. 32418 .......................................................................... 14
79 Fed. Reg. 62170 .......................................................................... 14
90 Fed. Reg. 5962 ............................................................................ 12
Model Rules of Pro. Conduct r. 3.3(a)(1)-(2) . .................................. 8
Ninth Cir. R. 27-3.............................................................................. 5




                                                V
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 8 of 40




                         INTRODUCTION
     Defendants demand extraordinary relief that would subvert
the status quo and be tantamount to reversal on the merits. If this
Court grants their Motion, 350,000 people will lose the right to live
and work in this country and face the prospect of deportation to
Venezuela, a nation run by a repressive regime the State
Department still deems unsafe even to visit.
     Defendants cannot obtain that extraordinary relief on the
emergency docket. To do so, they must show that the rapid briefing
schedule the Court has already set is too slow to prevent irreparable
harm. But their primary alleged harm is institutional injury, and
this Court has held that such institutional interests can be
vindicated on a normal review schedule. No competent evidence
establishes any other form of irreparable harm to Defendants.
     Defendants also come nowhere close to the requisite "strong
showing" of likely success on appeal. They overlook Plaintiffs'
arbitrary-and-capricious APA claim-which rests on a distinct
jurisdictional basis and detailed factual findings of arbitrary and
pretextual decision-making. That claim alone suffices to affirm the
order, and Defendants have waived it.
     As to Plaintiffs' lack-ofstatutory-authority APA claim,
Defendants' jurisdictional position rests on a view no court has ever
endorsed, and therefore cannot justify relief on the emergency

                                    l
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 9 of 40




docket. In Defendants' view, federal courts have no power to stop
even blatantly lawless agency action made under color of the TPS
statute-even if unconstitutional. On their view, no court could
review a decision to grant a fifty-year TPS extension, designate
Mexico for TPS expressly in response to Congress' inability to pass
comprehensive immigration reform, grant (or deny) TPS only to
certain religious groups, or even reverse all prior terminations to
retroactively confer TPS on everyone who has ever had it.
     Defendants' extreme reading of the jurisdictional provision is
not settled law now, and therefore cannot justify staying the district
court's well-reasoned order. A wealth of authority confirms the
provision is actually quite narrow, because it bars review only of
"determination[s]." "Determination" is a term of art in statutes
governing judicial review of administrative action. It does not
encompass collateral challenges to agency action, such as questions
of statutory interpretation. Defendants never dispute that
Plaintiffs' claims are cognizable under that precedent.
     Defendants also cannot show likely success on the merits of
the lack-of-statutory-authority APA claim. As this Court recently
held, agencies lack implied authority to vacate decisions where, as
here, a statute constrains both the timing and review processes for
agency decision-making. Vacatur authority would render those
constraints meaningless.

                                    2
         Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 10 of 40




     Defendants'      response       to    Plaintiffs'     constitutional
discrimination claim is also meritless. Findings of discriminatory
intent are reversible only for clear error. Unrebutted evidence
establishes that Secretary Noem used racial epithets and
falsehoods specifically to explain each decision-first in sworn
Congressional testimony, and then on national television the day
after each decision was made. Defendants float alternative, less-
offensive explanations, but excuses lacking evidentiary support
count for nothing under the clear error standard. The district
court's extensive findings need only be plausible; in fact they are
compelling.
     Defendants re-hash their view that APA relief constitutes an
injunction barred under 8 U.S.C. l252(f)(l), and an impermissible
so-called universal injunction. This Court and others have
consistently rejected such claims. Every court to consider the
issue-including the Fifth Circuit-agrees that APA relief is not
injunctive for purposes of l252(f)(l). The APA operates against
agency action itself, rather than enjoining persons. Moreover, the
default rule in APA immigration cases is that relief operates
nationwide. And despite Defendants' ever-shifting position as to the
proper scope of relief, they have never explained how feasibly to
protect the more than 84,000 Venezuelan TPS holders who are
members of the Plaintiff National TPS Alliance without protecting

                                    3
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 11 of 40




others.
     Finally, the district court did not abuse discretion in finding
the equities overwhelmingly favored Plaintiffs. In addition to the
humanitarian crisis that would have followed ending Venezuelan
TPS last week, the public would suffer billions of dollars in lost
economic contributions, and families and communities nationwide
would be shattered. Such harms could never be undone were this
Court, after more fulsome review, to affirm the district court.
                JURISDICTIONAL STATEMENT
     Defendants assert appellate jurisdiction exclusively under 28
U.S.C. l292(a)(l), for orders with "the same effect as a preliminary
injunction." Mot. 5. But stays under 5 U.S.C. 705 are not injunctive
in nature; they do not operate against persons or subject anyone to
contempt. Texas U. United States, 40 F.4th 205, 219-20 (5th Cir.
2022); of. inken U. Holder, 556 U.S. 418, 429-30 (2009) (stays not
injunctions for purposes of 8 U.S.C. l252(f)(2)). Defendants cite no
other basis for interlocutory review. That precludes granting an
emergency stay.
                     STANDARD OF REVIEW
     A stay request on an expedited schedule warrants caution.
Deciding "important substantive issues" impacting hundreds of
thousands of people on an emergency timetable "turns [the] usual
decision-making process on its head."Washington U. Trump, No. 25-

                                     4
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 12 of 40




807, 2025 WL 553485, at *2 (9th Cir. Feb. 19, 2025) (Forrest, J.,
concurring).
      Defendants must prove they will suffer irreparable injury
"during the period before the appeal is likely to be decided"-most
likely in the next few months. Al Otro Lado U. Wolf, 952 F.3d 999,
1007 (9th Cir. 2020). The "burden with regard to irreparable harm
is higher than it is on the likelihood of success prong, as
[Defendants] must show that an irreparable injury is the more
probable or likely outcome." Id. (citation omitted); Ninth Cir. R. 27-
3. "[P]erceived institutional injury" from pausing a new agency
policy "is not 'irreparable.'" Doe #1 U. Trump, 957 F.3d 1050, 1059
(9th Cir. 2020) (citation omitted).
      Defendants also must make "a strong showing that [they are]
likely to succeed" on appeal, Al Otro Lado, 952 F.3d at 1006, such
that this motions panel can confidently "predict[] the likelihood of
success of the appeal." E. Bay Sanctuary Covenant U. Biden, 993
F.3d 640, 660 (9th Cir. 2021). Defendants must overcome a "highly
deferential" abuse-of-discretion standard, Microsoft Corp. U.
Motorola, Inc., 696 F.3d 872, 881 (9th Cir. 2012), as well as the clear
error standard for factual findings, under which "we affirm          so
long as [a finding] is plausible    even if another [finding] is equally
or more so." Cooper U. Harris, 581 U.S. 285, 293, 309 (2017).
      Finally, a stay is inappropriate where "the status quo would

                                     5
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 13 of 40




be seriously disrupted." Nat'l Urb. League U. Ross, 977 F.3d 698,
701 (9th Cir. 2020); Washington U. Trump, 847 F.3d 1151, 1168 (9th
Cir. 2017) (denying stay where order "returned the nation
temporarily to the position it has occupied").
                             ARGUMENT
1.   DEFENDANTS CANNOT SHOW A "STRONG
     LIKELIHOOD" OF SUCCESS ON THE MERITS.
     A.    Defendants Cannot Show Likely Success on the
           APA Claims.
     The district court correctly granted relief on two APA claims:
that the Secretary lacked authority to vacate a TPS extension, and
that her reasons for vacating the extension based on alleged
registration defects were arbitrary.
           1.  Settled Precedent Supports Plaintiffs' Lack-
               of-Vacatur-Authority Claim.
     As t o jurisdiction: Defendants argue Plaintiffs' vacate
authority claim is barred by 8 U.S.C. l254a(b)(5), which provides:

     There is no judicial review of any determination of the
     Attorney General with respect to the designation, or
     termination or extension of a designation, of a foreign
     state under this subsection.

8 U.S.C. l254a(b)(5)(A). On their view, any "decision reached," or
"settling of a question" related to TPS in general, is immune from
judicial scrutiny. Mot. 7-8.
     No court has accepted that breathtaking proposition. It would

                                     6
         Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 14 of 40




insulate all lawless TPS decision-making from judicial review.
Defendants suggest the now-vacated Ramos panel majority's
opinion endorsed their position. Mot. l. It did the opposite. The
majority stated "a claim that an agency has adopted an erroneous
interpretation of a governing statute would be reviewable
particularly because the court's resolution of these sorts of
challenges turns on a review of the law itself, rather than a review
of the merits of any specific agency determinations." Ramos U. Wolf,
975 F.3d 872, 895 (9th Cir.), opinion vacated upon rehg en banc, 59
F.4th lol0 (9th Cir. 2023); Order 24-26.
     Defendants also ignore binding precedent recognizing
"determination" is a term of art in the jurisdictional context. The
Supreme Court and this Court consistently construe statutes
barring review of "determinations" not to preclude collateral
challenges to agency action, including about the agency's statutory
interpretation, rather than determinations about particular
decisions.
     Tellingly, Defendants' counsel "explicitly conceded" this point
below. Order 23 (emphasis added). In the district court, they
unequivocally agreed "l254a(b)(5)(A) does not bar the Court from
entertaining" a lack-of-vacatur-authority APA claim because
"whether the Secretary had such authority is purely a matter of
statutory construction      not a 'determination' with respect to a

                                    7
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 15 of 40




TPS designation, termination, or extension." Id. Defendants, like
any litigant, cannot disavow such concessions. United States U.
Yildiz, 355 F.3d 80, 82 (2d Cir. 2004) ("government's attorneys can
bind the government with their in-court statements"); Magallanes-
Damian U. INS, 783 F.2d 931, 934 (9th Cir. 1986) (party bound by
counsel's in-court admissions). At a minimum, Defendants cannot
make a "strong showing" of success on an issue they freely
conceded.
     The concession below comported with the duty of candor given
binding precedent. Cf. Model Rules of Pro. Conduct r. 3.3(a)(l)-(2).
"[T]he reference to 'a determination' describes a single act rather
than a group of decisions or a practice or procedure employed in
making decisions." McNary U. Haitian Refugee Ctr., Inc., 498 U.S.
479, 492 (l99l) (challenge to adjudication procedures did not
require review of a "determination"). Congress "could easily have
used broader statutory language" had it wanted to bar review of "all
causes      arising under" the statute, or "all questions of law and
fact" in such suits, rather than merely review of a "determination."
Id. at 492-94. Congress did so when writing broader jurisdictional
provisions just a few years after McNary, but it left the TPS
provision untouched. See, e.g., 8 U.S.C. l252(a)(2)(A)(i); l252(b)(9).
     Defendants also ignore Supreme Court authority interpreting
another jurisdictional provision barring review of a "determination"

                                     8
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 16 of 40




to preserve review of statutory claims. Reno U. Cath. Soc. Servs.,
Inc., 509 U.S. 43, 56-58 (1993) ("CS'S") ("determination" did not
encompass challenge to agency rule interpreting statute). This
Court subsequently did the same. Immigrant Assistance Project of
AFL-CIO u. INS, 306 F.3d 842, 862-63 (9th Cir. 2002).
     Since those decisions, this Court has utilized McNary's
framework to analyze various jurisdictional schemes. See Ramos,
975 F.3d at 892 (citing, inter alia, City of Rialto U. W. Coast Loading
Corp., 581 F.3d 865, 874 (9th Cir. 2009)). This developed body of
doctrine cannot be disregarded, particularly on the emergency
docket.
      Defendants nonetheless ignore it, relying on Patel U. Garland,
596 U.S. 328 (2022). The statute there referred to "judgment," not
"determination," id. at 339, found review barred for factual claims,
not legal ones, id. at 347, and relied on other context clues not
present here, id. at 339 (citing history of 8 U.S.C. l252(a)(2)(13)); of.
Wilkinson U. Garland, 601 U.S. 209, 221 (2024) (finding question of
law otherwise subject to same stripping provision reviewable) .
      Defendants also assert the statute gives the Secretary
substantial discretion, which in turn constrains judicial review.
Mot. 9. In fact, the statute constrains both the timing and review
procedures for TPS decision-making. Order 51-52. In any event,
when Congress actually sought to foreclose all review of statutory

                                     9
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 17 of 40




claims arising from exercises of discretion, it did SO. Et., Gebhardt
U. Nielsen, 879 F.3d 980, 984-85 (9th Cir. 2018) (statute specifying
decisions were in Secretary's "sole and unreviewable discretion"
barred review of all non-constitutional claims). No comparable
language exists here.
     Defendants invite this Court to ignore precedent and analyze
the text based only on dictionary definitions, Mot. 7, but even
utilizing their approach, Defendants' position ignores that Section
l254a(b)(5)(A) bars review only of "any determination                with
respect to" three discrete actions: "designation, or termination or
extension under [subsection b]." It does not bar review of
determinations with respect to vacaturs. Order 25. Defendants
respond that the agency's legal conclusion asserting vacate
authority is a "determination 'with respect to"' the specified acts.
Mot. 8. But such "uncritical literalism" ignores the Supreme Court's
instruction to exercise caution when construing potentially-
boundless jurisdictional provisions. Jennings U. Rodriguez, 583 U.S.
281, 293-94 (2018) (construing "arising from" narrowly, citing cases
construing "affected," "related to," and "in connection with"
narrowly in jurisdictional statutes) (plurality) (citation omitted).
Defendants' view would render the agency's legal conclusions
immune from all review, contrary to the "'basic presumption' that
anyone injured by agency action should have access to judicial

                                    10
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 18 of 40




review." Corner Post, Inc. U. Bd. of Governors offed. Rsrv. Sys., 603
U.S. 799, 824 (2024) (citation omitted).
     On the merits: this Court has rejected Defendants'
unbounded view of agencies' authority to rescind their prior
decisions. Gorbach U. Reno, 219 F.3d 1087, 1095 (9th Cir. 2002) (en
banc) ("[t]here is no general principle that what [an agency] can do,
[it] can undo."); China Unicom (Ams.) Operations Ltd. U. FCC, 124
F.4th 1128, 1143 (9th Cir. 2024) ("CUA"); Order 44-55. Defendants
ignore Gorbach, and misread CUA, asserting any "[s]tatutory
authorization     'must be understood as carrying with it an implied
incidental authority' to revoke." Mot. 10. But CUA held implied
reconsideration authority "turn[s]       on the details of the statutory
scheme," id. at 1143-45, and its reasoning precludes finding such
authority here.
     First, CUA found reconsideration "foreclosed           when there is
a specific statutory process for altering an agency's grant of
authorization." 124 F.4th at 1149. Second, it found a statute's "use
of a fixed term" "affirmatively inconsistent with positing an implied
power to revoke      at any time." Id. at 1148.
     The district court correctly applied CUA, as the "specific
statutory process" for altering a TPS designation and the statute's
"use of a fixed [extension] term" foreclose vacate. Id. at 1148-49,
Order 48-51. Defendants contend TPS is not fixed, pointing to

                                    II
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 19 of 40




discretionary aspects of the process not at issue here, but the
statute tightly regulates the timing of terminations. 8 U.S.C.
1254a(b)(3)(B) (termination "shall not be effective earlier than 60
days after    the expiration of the most recent previous extension").
      Defendants also assert the vacated January 17 extension was
not yet effective. Even if that were true, it would not somehow
convey vacate authority foreclosed by statute regardless of timing.
Regardless, Defendants are wrong. The January extension was
effective immediately, because a designation "is extended"
immediately upon the Secretary's determination that conditions for
designation continue to exist. 8 U.S.C. 1254a(b)(3)(C). Beneficiaries
began re-registering January 17; applications granted after
January 17 received TPS "through October 2, 2026;" and everyone's
work authorization was automatically extended "without any
further action." 90 Fed. Reg. 5962; Order 52-53 (created reliance
interests).
      Nor was this a "quintessential exercise" of rescission
authority. Mot. 10. It did not involve the kind of clerical error that
agencies have residual authority to correct in some circumstances.
Such authority (when it exists) does not furnish "a guise for
changing previous decisions         in the light of changing policies."
Am. TruckingAss'ns U. Frisco Transp. Co., 358 U.S. 133, 146 (1958).
      Finally, Defendants contend the absence of a statutory

                                    12
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 20 of 40




vacate process implies discretion to vacate. Mot. II. Under this
Court's law, it proves the opposite. Vacatur is inconsistent with the
statute's prescribed review process and fixed terms, and would
defeat reliance expectations. Order 50-52.
     B.    Plaintiffs' Arbitrary and Capricious Claim Stands
           Unchallenged.
     Defendants entirely ignore Plaintiffs' second APA claim,
which rests on a separate jurisdictional and merits basis.
     On jurisdiction: the stripping provision does not apply to
this claim because the parties' dispute concerns the propriety of
consolidating TPS registration processes, because that was the
reason Secretary Noem gave for vacating the January 17 extension.
Registration is addressed in subsection l254a(c) of the statute
(specifically, 8 U.S.C. l254a(c)(l)(A)(iv) and (B)), whereas the
stripping provision bars only determinations under "this
subsection," i.e., subsection l254a(b). Thus, even if the stripping
provision covered virtually every aspect of TPS decision-making
with respect to designations, extensions, and terminations, its plain
terms do not cover disputes over registration, which is the subject
of this distinct APA claim.
     On the merits: the district court addressed this claim at
length, Order 55-59, so Defendants have waived any supposed
error by entirely ignoring the well-reasoned decision below.


                                    13
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 21 of 40




      Regardless, the district court did not abuse its discretion or
commit clear error in finding that, even if the Secretary had vacate
authority, this vacate was arbitrary because it rested on factual
and legal errors; failed to consider obvious alternatives; and was
pretextual: "confusion was not [Secretary Noem's] concern so much
as the desire to totally undo Secretary Mayorkas's decision." Id.
      Presented with undisputed evidence of past practice, the
district found nothing unusual about the mechanics, length, or
timing of the January 17 extension. Order 57-58 (consolidation of
registration processes is routine); Table A (88% of all TPS
extensions over past two decades have been for an 18-month
duration); 73 Fed. Reg. 57128 (extension published 159 days before
expiration); 78 Fed. Reg. 32418 (102 days); 79 Fed. Reg. 62170 (81
days). Even Defendants conceded that "Plaintiffs are correct that
these overlapping registrations can take place                 within the
discretion of [a] Secretary ...." Tr. 69:25-70:2.
      The district court also committed no abuse of discretion in
finding that, even if the Secretary had somehow actually
determined (three days after taking office) that the consolidated
registration periods were causing a problem, the solution would
have been to deconsolidate them, not strip 600,000 people of lawful
status. Order 58-59; DHS U. Regents of the Univ. of Cal., 591 U.S.
1, 30 (2020) (reversing DACA rescission for failure to consider

                                    14
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 22 of 40




alternatives) .
      Perhaps sensing that they cannot establish that the vacate
decision was rational, Defendants now argue that, even if the
vacate is unlawful the termination somehow retains independent
legal force. Mot. 8. Defendants waived this argument below. It also
makes no sense. If the vacate lacks legal force, then the January
17 extension remains in place. It extends TPS protections until
October 2026.
11.   DEFENDANTS CANNOT SHOW A "STRONG
      LIKELIHOOD"   OF   PREVAILING ON THE
      DISCRIMINATION CLAIM.
      The district court's factual findings on racial discrimination
"warrant[] significant deference on appeal" and are "subject to
review only for clear error." Cooper U. Harris, 581 U.S. 285, 293
(2017). A discrimination finding "that is 'plausible'                -even if
another [interpretation] is equally or more so-must govern." Id.
(citation omitted). Defendants essentially ask for de novo review
based on a sliver of the record. That would fail even on appeal, let
alone on the emergency docket.
      The district court correctly found discriminatory intent was a
motivating factor in         the    decisions. It      cited    numerous,
contemporaneous statements by Secretary Noem specifically to
justify these decisions, coupled with evidence within the four
corners of the orders themselves. Order 59 (evidence of

                                    15
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 23 of 40




"unconstitutional animus" "substantial"). The Secretary "made
sweeping negative generalizations about Venezuelan TPS
beneficiaries in Toto," and, on the basis of those generalizations,
"decided to take en masse actions against all Venezuelan TPS
beneficiaries, who number in the hundreds of thousands." Order 66.
"Acting on the basis of a negative group stereotype and generalizing
such stereotype to the entire group is the classic example of racism."
Id. (citing Korematsu U. United States, 323 U.S. 214, 233, 235 (1944)
(Murphy, J., dissenting)).
     Defendants claim such statements were "remote in time and
taken out of context." Mot. 2. That misrepresents the record. Less
than two weeks before the vacate, Secretary Noem testified:

     [The TPS] program has been abused and
     manipulated [T]his extension of over 600,000
     Venezuelans as well is alarming when you look at what
     we've seen in different states, including Colorado with
     gangs doing damage and harming the individuals and the
     people that live there.

Order 65. Then, the day after the uacatur, when announcing it on
national television, she said, "the people of this country want these
dirt bags out." Id. Three days later, on the day after the termination,
again on national television, she proclaimed the "TPP [sic]
program" has been "abused," and stated, "Venezuela purposely
emptied out their prisons, emptied out their mental health facilities


                                    16
         Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 24 of 40




and sent them to the United States of America. So we are ending
that extension of that program." Id.
     The district court did not clearly err in finding, based on
expert declarations, that because there is "no evidence that
Venezuelan TPS holders are tied to gangs or are criminals," these
statements reflected "'longstanding tropes or stereotypes that
certain races have inherently immoral traits.'" Order 2, 64
("undisputed record establishes" "lower rates of criminality,"
"higher education attainment," "a high" labor participation rate,
and higher earned income for Venezuelan TPS holders) .
     Defendants focus only on the "'dirt bags'" slur, claiming it
referred to gang members, Mot. 14, but it is "plausible" to read the
statement more broadly, particularly because the Secretary used it
to explain her decisions. Cooper, 581 U.S. at 293; Order 65. And
Defendants ignore the other statements, including the baseless
claims about crime and the racist "invasion" trope used in the
termination decision itself. Order 12, 59.
     Thus, on this record, this Court can deny the Motion without
resolving whether this case is governed by Trump U. Hawaii, 585
U.S. 667 (2018), or instead by Viii. of Arlington Heights U. Metro.
Housing Dev. Corp., 429 U.S. 252 (1977). The district court found
sufficient support to satisfy the Hawaii standard because the
overwhelming "record evidence        raised at least a serious question

                                   17
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 25 of 40




whether, in fact, the Secretary's actions are plausibly related to her
stated objective." ECP 102 at 4 (emphasis added).
     Defendants ignore this, contending that the Secretary's
decisions rationally relate to legitimate interests in "immigration,
national security, and foreign policy," citing (with no competent
record evidence) "gang activity and public safety concerns, adverse
impact on U.S. communities, foreign policy interests, immigration
and border policies, and the potential magnet effect of TPS on
illegal immigration of Venezuelans." Mot. 12. The district court did
not clearly err in finding "no evidence" to support these rationales,
as there is none in this record. Order 73-74; see id. 38-44, 61-62.
This Court cannot credit Defendants' unevidenced assertions. Doe
#1, 957 F.3d at 1059 (citing inken). Unlike in Hawaii, there is no
"persuasive evidence" these decisions had a "legitimate grounding
in national security concerns." Hawaii, 585 U.S. at 706 (emphasis
added).
     In any event, neither the Supreme Court nor this Court have
applied Hawaii's deferential standard to claims on behalf of persons
lawfully present inside the United States. Moreover, Hawaii
involved a Presidential Proclamation made in the name of national
security, not agency action pursuant to statute. Order 60-62. This
Court should not disregard its law on the issue, particularly in this
posture. Regents of the Univ. of Cal. U. DHS, 908 F.3d 476, 518-20

                                    18
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 26 of 40




(9th Cir. 2018) (holding Arlington Heights rather than Hawaii
governed DACA discrimination claim), reu'd in part, vacated in
part, Regents, 591 U.S. at 34 (plurality) (assuming Arlington
Heights governed); Ramos, 975 F.3d at 896 (holding Arlington
Heights governed TPS discrimination claim) (vacated panel
majority) .
      Nor does Defendants' incantation of "national interest"
automatically entitle them to deferential review. Order 60-61.
"National interest" is a malleable concept limited only by one's
creativity. The environment, health care, public education, the
economy, and more constitute "national interests." Defendants'
position would vitiate judicial review of virtually all agency action.l
      Defendants obviously cannot prevail under Arlington Heights,
as the district court found. Order 64-71. They object to
consideration of older statements, but under Arlington Heights the
historical background matters. Id. at 63.
      Defendants also consider the finding of unconstitutional
animus "untenable" because it will "leave virtually any
immigration policy adopted by this Administration susceptible to


1 Poursina U. USCIS, 936 F.3d 868 (9th Cir. 2019), offers
Defendants no support; it held only that the "national interest"
element of a statute governing employment visas "lack[ed] a
judicially manageable standard of review." Id. at 871.

                                    19
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 27 of 40




an Equal Protection challenge." Mot. 14. There can be no ordered
liberty where state action violating the Constitution is permitted to
stand because the government would prefer to operate without
constitutional constraints. Defendants' stated policy goals of
"reduc[ing] illegal immigration and crime," Mot. 14, are goals that
many presidential administrations have pursued without legal
challenge. This administration, too, could take steps to further
those goals, but not out of animus. In any event, the decision below
applies only to two TPS decisions, not other policies.
      Finally, to the extent Defendants imply this Court lacks
jurisdiction to review even constitutional claims, their position is
meritless. See Bowen U. Mich. Acid. of Fam. Physicians, 476 U.S.
667, 680-81 (1986) (rejecting "extreme" position interpreting
statute to foreclose constitutional claims) .
111. THE COURT GRANTED APPROPRIATE RELIEF.
     A.    The Order Does Not Violate 8 U.S.C. 1252(f)(1).
     Defendants assert that Section l252(f)(l) bars APA relief.
Every court to consider the issue, including the Fifth Circuit and at
least five district courts, disagrees. Texas U. United States, 50 F.4th
498, 528 (5th Cir. 2022) (Section 1252(f)(l) does not apply to
vacate); Order 22 (collecting cases). Defendants cannot show a
likelihood of success by hoping to create a circuit split. And
although Defendants fail to acknowledge it, Mot. 16, the Supreme


                                    20
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 28 of 40




Court has reserved the question, Biden U. Texas, 597 U.S. 785, 801
n.4 (2022), making it doubly inappropriate for resolution on the
emergency docket. Washington, 2025 WL 553485, at *2 (Forrest, J.,
concurring).
     The district court rightly concluded vacate under the APA is
"a less drastic remedy" than an injunction, because it does not
enjoin persons. Order 19 (quoting Monsanto Co. U. Geertson Seed
Farms, 561 U.S. 139, 165 (2010)). A stay under Section 705 is "an
interim     form of vacate." Texas U. Biden, 646 F. Supp. 3d 753,
769 (N.D. TeX. 2022). It "temporarily suspend[s] the source of
authority to act"; it does not "direct[] the actor's conduct."inken, 556
U.S. at 428-29. Defendants argue the district court lacked
postponement authority because the extension-vacatur had taken
effect. Mot. 15. But TPS holders still had status when the district
court ruled. Moreover "[c]ourts-including the Supreme Court-
routinely stay already-effective agency action under Section 705."
Texas, 646 F. Supp. 3d at 770 (collecting cases).
     B.    The Requested Relief Is Not Overbroad.
      Defendants ask this Court to narrow the scope of relief, but
"[w]hen a reviewing court determines that agency regulations are
unlawful, the ordinary result is that the rules are vacated-not that
their application to the individual petitioners is proscribed." E. Bay
Sanctuary Covenant, 993 F.3d at 681 (cleaned up); see also Career

                                    21
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 29 of 40




Coils. & Schs. of Tex. U. Dept of Educ., 98 F.4th 220, 255 (5th Cir.
2024) ("Nothing in the text of Section 705, nor of Section 706,
suggests that either preliminary or ultimate relief under the APA
needs to be limited to [the associational plaintiff] or its members").
Defendants cite a different (earlier) East Bay case limiting
nationwide relief, but the district court reinstated it, and that
decision was then stayed on other grounds. Mot. 19-20 (citing E.
Bay Sanctuary Covenant U. Barr, 934 F.3d 1026, 1029 (9th Cir.
2019); see Barr U. East Bay Sanctuary Covenant, 140 S. Ct. 3
(2019)). Defendants also cite a concurrence criticizing nationwide
injunctions, id. at 19, but the Supreme Court has repeatedly
declined to narrow so-called "universal" relief both in APA cases
and in cases involving true nationwide injunctions.2
     Defendants also suggest Plaintiffs' irreparable harm showing


2 United States U. Texas, 599 U.S. 670 (2023) (denying request for
stay of universal order vacating Secretary's enforcement priorities
guidance); Perez U. United States, No. 24A403, 2024 WL 4772734
(U.S. Nov. 12, 2024) (refusing to stay order halting federal
Keeping Families Together program); Biden U. Missouri, 145 S. Ct.
109 (2024) (denying request to vacate universal injunction of
student loan program); Ala. Ass'n of Realtors U. HHS, 594 U.S.
758, 759 (2021) (lifting stay on order universally vacating eviction
moratorium), Washington U. Trump, F.4th ---, 2025 WL 553485
(9th Cir. Feb. 19, 2025) (affirming universal injunction against
birthright citizenship order), CASA, Inc. U. Trump, F.4th ---,
2025 WL 654902, at *l-3 (4th Cir. Feb. 28, 2025) (same, for
associational plaintiff) .

                                    22
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 30 of 40




justifies limiting the scope of relief, Mot. 19, but ignore the district
court's factual findings and voluminous record of harm. See, et.,
Order 34-36 (Plaintiff M.H. would be unable to drive severely
asthmatic U.S. citizen son to the hospital and daughter to school;
Plaintiff Arape Rivas would lose IT job, home, and ability to support
family in Venezuela with life-saving medications; Plaintiff
Gonzalez Herrera would be forced to abandon university; small
business owners are considering selling businesses or laying off
employees; students fear losing financial aid; TPS holders "terrified
that they will be deported without this essential legal status").
     Defendants also advance a new position-that Plaintiffs must
show irreparable harm for each of the 350,000 TPS holders under
the 2023 designation-to obtain relief. Mot. 19-20. This argument
differs from the ones they raised below. ECP 102 at 4 (finding
waiver). Compare ECP 60 at 25 (relief should be limited to
"individual named plaintiffs") with ECF 95 at 10 (relief should be
limited to individual plaintiffs and NTPSA members as of
complaint date) with Mot. 19-20 (no relief "to non-parties"). They
have waived this argument too.
     It is also unsound. The district court found APA relief
warranted because the agency's actions had a "uniform and
nationwide impact on all Venezuelan TPS holders located across
the United States." Order 76. "[F]or many TPS holders, TPS is their

                                    23
           Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 31 of 40




only avenue for legal status in the United States." Id. at 32.
Moreover, Defendants have not suggested any alternative to protect
the more than 84,000 NTPSA members party to this suit. Id. at 76
(citing Ariz. Dream Act Coal. U. Brewer, 81 F. Supp. 3d 795, 810 (D.
Ariz. 2015), aff'd, 855 F.3d 957 (9th Cir. 2017)). Defendants' novel
arguments certainly cannot justify relief on the emergency docket.
      Nor can their new (also waived) argument that deportation to
Venezuela is not irreparable harm. Mot. 18. This ignores the State
Department's categorization of it as a "Level 4: Do Not Travel"
country, Order 1, and the massive economic harm that lost
employment authorization would cause, wholly apart from
deportation.
IV. DEFENDANTS FAIL TO SHOW IRREPARABLE I-IARM,
    AND THE EQUITIES FAVOR POSTPONEMENT.
      Defendants cannot show "irreparable injury is the more
probable     outcome" during the pendency of appeal, as required to
emergency relief. Al Otto Ludo, 952 F.3d at 1007. Indeed,
Defendants opposed Plaintiffs' expedited briefing request below,
ECF 45 at l, and offer no rationale for urgency now that the Order
has taken effect. The sky will not fall if this Court decides in the
summer rather than by the deadline Defendants set for this Court.
Doe #1, 957 F.3d at 1058; Washington, 2025 WL 553485, at *l
(Forrest, J., concurring) .


                                     24
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 32 of 40




     The primary injury Defendants assert is "supplanting the
Secretary's discretion-laden judgment," Mot. 17, but the
"Government may pursue and vindicate its [institutional injury]
interests in the full course of this litigation." E. Bay Sanctuary
Covenant U. Trump, 932 F.3d 742, 778 (9th Cir. 2018) (cleaned up),
Otherwise, "no act of the executive branch          could be the subject"
of interim relief. Doe #1, 957 F.3d at 1059; Washington, 2025 WL
553485, at *3 (Forrest, J., concurring) ("[J]ust because a district
court grants preliminary relief halting a policy advanced by one of
the political branches does not in and of itself an emergency
make."). That Defendants claim TPS decisions arise from "inherent
executive power" does not alter the analysis. TPS comes from a
statute. Defendants' temporary inability to exercise authority under
contested statutory interpretation does not constitute irreparable
injury. Doe #1, 957 F.3d at 1059.3
     No injury arises where courts protect "the public['s] interest
in ensuring that the [laws]       are not imperiled by executive fiat.'"
E. Bay Sanctuary Covenant, 993 F.3d at 679, 681 (cleaned up). As
for any individualized security concerns, the TPS statute renders
individuals with criminal convictions or security threats ineligible.
Order 3-4, 41-42; 8 U.S.C. 1254a(c)(2)(B) (rendering ineligible for

3US. ex rel. Knauff U. Shaughnessy, 338 U.S. 537, 542 (1950)
concerns border admissions, not lawful residents facing removal.

                                    25
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 33 of 40




TPS individuals with disqualifying criminal convictions or who are
"a danger to the security of the United States"). Defendants can
withdraw TPS for ineligible individuals. 8 U.S.C. l254a(c)(3)
(withdrawal of TPS required for ineligible individuals); 8 C.F.R.
244.14.
     Finally, Defendants obscure the vast disparity in potential
harm each side faces. Here, the "the status quo would be seriously
disrupted by an immediate stay." Nat'l Urb. League, 977 F.3d at
701 (emphasis added). If Defendants lose now but ultimately
prevail, Venezuelan TPS holders would retain TPS for a few more
months; in contrast, granting this Motion would trigger,
catastrophic harm to Plaintiffs. Order 31-38. For many TPS
holders, a stay could "moot out the postponement order and the
appeal thereof." ECP 102 at 2. No final judgment could undo such
harms. inken, 556 U.S. at 436.
     This harm is not an "inherent" part of this statutory regime.
The statute was enacted to eliminate unfettered discretion over
humanitarian protection for designated periods of time. See Mot.
18; Order 51-52 (quoting Ramos, 975 F.3d at 890 (TPS "curb[s] and
control[s] the executive's previously unconstrained discretion")).
And the loss of time in safety, and with children, spouses, and
communities constitutes irreparable harm, "even if that time is
limited." Order 37.

                                    26
              Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 34 of 40




                            CONCLUSION
          Defendants' Motion should be denied.


Dated: April II, 2025          Respectfully submitted,

                               By: /s/ Ahilan T. Arulanantham
                                  Ahilan T. Arulanantham (SBN 237841)
                                  arulanantham@law.ucla.edu
                                  Stephany Martinez Tiffed (SBN 341254)
                                  martineztiffelr@law.ucla.edu
                                  CENTER FOR IMMIGRATION LAW AND
                                  POLICY, UCLA SCHOOL OF LAW
                                  385 Charles E. Young Dr. East
                                  Los Angeles, CA 90095
                                  Telephone: (310) 825-1029


                               By: /s/ Emilou MacLean
                                  Emilou MacLean (SBN 319071)
                                  emaclean@aclunc.org
                                  Michelle (Minju) Y. Cho (SBN 321939)
                                  mcho@aclunc.org
                                  Amanda Young (SBN 359753)
                                  ayoung@aclunc.org
                                  ACLU FOUNDATION
                                  OF NORTHERN CALIFORNIA
                                  39 Drumm Street
                                  San Francisco, CA 94111-4805
                                  Telephone: (415) 621-2493

                               By: /s/ Jessica Karp Bansal
                                  Jessica Karp Bansal (SBN 277347)
                                  jessica@ndlon.org
                                  Lauren Michel Wilford
                                  lwilfong@ndlon.org
                                  NATIONAL DAY LABORER


                                        27
Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 35 of 40




                    ORGANIZING NETWORK
                    1030 S. Arroyo Parkway, Suite 106
                    Pasadena, CA 91105
                    Telephone: (626) 214-5689

                    Eva L. Beltran (SBN 302081)
                    ebitran@aclusoca1.olrg
                    ACLU FOUNDATION
                    OF SOUTHERN CALIFORNIA
                    1313 West 8th Street
                    Los Angeles, CA 90017
                    Telephone: (213) 977-5236

                    Erik Crew
                    ecrew@haitianbridge.org
                    HAITIAN BRIDGE ALLIANCE
                    4560 Alvarado Canyon Road, lH
                    San Diego, CA 92120
                    Telephone: (949) 603-7411

                    Attorneys for Plaintiffs-Appellees




                          28
          Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 36 of 40




               CERTIFICATE OF COMPLIANCE
     This brief complies with Circuit Rules 27-l(l)(d) and 32-3
because it contains less than 5,600 words, excluding the parts of the
document exempted by Rules 27(a)(2)(B) and 32(fl of the Federal
Rules of Appellate Procedure, as well as words in Table A. The brief
also complies with the typeface and typestyle requirements of Rules
32(a)(5)-(6) of the Federal Rules of Appellate Procedure because it
has been prepared in a proportionally spaced typeface using
Microsoft Word in l4-point Century Schoolbook font.

Dated: April II, 2025                    Respectfully submitted,
                                      By: I//Ahilan T. Arulanantham
                                          Ahilan T. Arulanantham




                                    29
Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 37 of 40




  TABLE A




                          30
                   Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 38 of 40



               DURATION OF TPS EXTENSIONS (APRIL 2005-PRESENT)
_Country             Date           Duration          .Citation
_Afghanistan        .25-Sep-2023    .18 months        .88 Fed. Reg. 65728-65737 (Sept. 25, 2023)
_Burma (Myanmar)    .27-Sep-2022    .18 months        .87 Fed. Reg. 58515-58524 (Sept. 27, 2022)
_Burma (Myanmar)    .25-Mar-2024    .18 months        .89 Fed. Reg. 20682-20690 (Mar. 25, 2024)
_Cameroon           .10-Oct-2023    .18 months        .88 Fed. Reg. 69945-69953 (Oct. 10, 2023)
_El Salvador        .21 -Aug-2007   .18 months        .72 Fed. Reg. 46649-46653 (Aug. 21. 2007)
_El Salvador        .1-Oct-2008     .18 months        .73 Fed. Reg. 57128-57133 (Oct. 1. 2008)
_El Salvador        .9-Jul-2010     .18 months        .75 Fed. Reg. 39556-39559 (July 9, 2010)
_El Salvador        .11-Jan-2012    .18 months        .77 Fed. Reg. 1710-1715 (Jan. 11, 2012)
_El Salvador        .30-May-2013    .18 months        .78 Fed. Reg. 32418-32424 (May 30, 2013)
_El Salvador        .7-Jan-2015     .18 months        .80 Fed. Reg. 893-899 (Jan. 7. 2015)
_El Salvador        .8-Ju1-2016     .18 months        .81 Fed. Reg. 44645-44651 (July 8, 2016)
_El Salvador        .21 -Jun-2023   .18 months        .88 Fed. Reg. 40282-40294 (June 21, 2023)
_El Salvador        .17-Jan-2025    .18 months        .90 Fed. Reg. 5953-5961 (Jan. 17, 2025)
_Ethiopia           .15-Apr-2024    .18 months        .89 Fed. Reg. 26172-26180 (Apr. 15, 2024)
_Haiti              .19-May-2011    .18 months        .76 Fed. Reg. 29000-29004 (May 19, 2011)
_Haiti              .1 -Oct-2012    .18 months        .77 Fed. Reg. 59942-59943 (Oct. 1, 2012)
_Haiti              .3 -Mar-2014    .18 months        .79 Fed. Reg. 11808-11814 (Mar. 3. 2014)
_Haiti              .25-Aug-2015    .18 months        .80 Fed. Reg. 51582-51588 (Aug. 25, 2015)
_Haiti              .26-Jan-2023    .18 months        .88 Fed. Reg. 5022-5032 (Jan. 26, 2023)
_Haiti              .1-Jul-2024     .18 months        .89 Fed. Reg. 54484-54496 (July 1, 2024)
_Honduras           .29-May-2007    .18 months        .72 Fed. Reg. 29529-29534 (May 29, 2007)
_Honduras           .1-Oct-2008     .18 months        .73 Fed. Reg. 57133-57138 (Oct. 1, 2008)
_Honduras           .5-May-2010     .18 months        .75 Fed. Reg. 24734-24737 (May 5, 2010)
_Honduras           .4-Nov-2011     .18 months        .76 Fed Reg. 68488-68493 (Nov. 4, 2011)
_Honduras           .3 -Apr-2013    .18 months        .78 Fed. Reg. 20123-20128 (Apr. 3. 2013)
_Honduras           .16-Oct-2014    .18 months        .79 Fed. Reg. 62170-62176 (Oct. 16, 2014)
_Honduras           .16-May-2016    .18 months        .81 Fed. Reg. 30331-30337 (May 16, 2016)
_Honduras           .21 -Jun-2023   .18 months        .88 Fed. Reg. 40294-40304 (June 21, 2023)
_Nepal              .26-Oct-2016    .18 months        .81 Fed. Reg. 74470-74475 (Oct. 26, 2016)
_Nepal              .21 -Jun-2023   .18 months        .88 Fed. Reg. 40317-40328 (June 21, 2023)
_Nicaragua          .29-May-2007    .18 months        .72 Fed. Reg. 29534-29539 (May 29, 2007)
_Nicaragua          .1-Oct-2008     .18 months         73 Fed. Reg. 57138-57143 (Oct. 1, 2018)
_Nicaragua          .5-May-2010     .18 months        '75 Fed. Reg. 24737-24740 (May 5. 2010)
 Nicaragua          4-Nov-2011       18 months        '76 Fed. Reg. 68493-68498 (Nov. 4. 2011)
-Nicaragua           3-Apt-2013      18 months        '78 Fed Reg. 20128-20133 (Apr. 3. 2013)
-Nicaragua          `16-Oct-2014     18 months        '79 Fed. Reg. 62176-62182 (Oct. 16, 2014)
-Nicaragua          `16-May-2016     18 months        'go Fed. Reg. 30325-30331 (May 16, 2016)
-Nicaragua          `21 -Jun-2023    18 months        '88 Fed. Reg. 40294-40304 (June 21, 2023)
-Somalia            '27-161-2006     18 months        '71 Fed. Reg. 42653-42658 (July 27, 2006)
-Somalia             12-Mat-2008     18 months        '73 Fed. Reg. 13245-13249 (Mar. 12, 2008)
-Somalia            '27-161-2009     18 months        '74 Fed. Reg. 37043-37049 (July 27, 2009)

                                                 31
               Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 39 of 40



-Somalia       `2-nov-2010      -18 months        ' 75 Fed. Reg. 67383-67386 (Nov. 2, 2010)
-Somalia        `1-May-2012     18 months         '77 Fed. Reg. 25723-25728 (May 1, 2012)
-Somalia        `1_N0V-2013     18 months         '78 Fed. Reg. 65690-65695 (Nov. 1, 2013)
-Somalia        `1-Jun-2015     18 months         '80 Fed. Reg. 31056-31061 (June 1, 2015)
-Somalia         17-J811-2017   18 months         02 Fed. Reg. 4905-4911 (Jan. 17, 2017)
-Somalia        '27-Aug-2018    18 months         '83 Fed. Reg. 43695-43700 (Aug. 27, 2018)
-Somalia        `11-Mar-2020    18 months          85 Fed. Reg. 14229-14235 (Mar. 11, 2020)
-Somalia        '22-Jul-2021    18 months         '86 Fed. Reg. 38744-38753 (July 22, 2021)
-Somalia         13-Mat-2023    18 months         '88 Fed. Reg. 15434-15443 (Mar. 13, 2023)
-Somalia        '22-Jul-2024    18 months         '89 Fed. Reg. 59135-59143 (July 22, 2024)
-South Sudan     9-J8N-2013     18 months         '78 Fed. Reg. 1866-1872 (Jan. 9, 2013)
-South Sudan     2-S€P-2014     18 months         '79 Fed. Reg. 52019-52027 (Sept. 2, 2014)
-South Sudan     25-J811-2016   18 months         01 Fed, Reg. 4051-4059 (Jan. 25, 2016)
-South Sudan     21-S€P-2017    18 months         '82 Fed. Reg. 44205-44211 (Sept. 21, 2017)
-South Sudan     5-APt-2019     18 months         '84 Fed. Reg. 13688-13694 (Apr. 5, 2019)
-South Sudan    2-nov-2020      18 months         '85 Fed. Reg. 69344-69351 (Nov. 2, 2020)
-South Sudan     3-Mat-2022     18 months          87 Fed. Reg. 12190-12201 (Mar. 3, 2022)
-South Sudan    '21-Aug-2023    18 months         '88 Fed. Reg. 56864-56872 (Aug. 21, 2023)
-Sudan           2-S€P-2005     18 months         '70 Fed. Reg. 52429-52433 (Sept. 2, 2005)
-Sudan           8-Maf-2007     18 months         '72 Fed. Reg. 10541-10546 (Mar. 8, 2007)
-Sudan          '14-Aug-2008    18 months         '73 Fed. Reg. 47606-47611 (Aug. 14, 2008)
-Sudan          '31-De€-2009    18 months          74 Fed. Reg. 69355-69361 (Dec. 31, 2009)
-Sudan          `13_0Ct-2011    18 months         '76 Fed. Reg. 63635-63640 (Oct. 13, 20111
-Sudan           9-J8N-2013     18 months         '78 Fed. Reg. 1872-1878 (Jan. 9, 2013)
-Sudan           2-S€P-2014     18 months          79 Fed. Reg. 52027-52033 (Sept. 2, 2014)
-Sudan           25-J811-2016   18 months          81 Fed. Reg. 4045-4051 (Jan. 25, 20161
-Sudan          '21-Aug-2023    18 months         '88 Fed. Reg. 56864-56872 (Aug. 21, 2023)
-Sudan           17-J811-2025   18 months         '90 Fed. Reg. 5944-5953 (Jan. 17, 20251
-Syria          '17-Jun-2013    18 months         '78 Fed. Reg. 36223-36229 (June 17, 2013)
-Syria           5-J8N-2015     18 months          80 Fed. Reg. 245-252 (Jan. 5, 2015)
-Syria          `1-Au8-2016     18 months         '81 Fed. Reg. 50533-50541 (Aug. 1, 2016)
-Syria           5-Mat-2018     18 months         '83 Fed. Reg. 9329-9336 (Mar. 5, 2018)
-Syria           23-S€P-2019    18 months         '84 Fed. Reg. 49751-49757 (Sept. 23, 2019)
-Syria          '19-Mat-2021    18 months         '86 Fed. Reg. 14946-14952 (Mar. 19, 2021)
-Syria          `1-Aug-2022     18 months         '87 Fed. Reg. 46982-46991 (Aug. 1, 2022)
-Syria          '29-Jan-2024    18 months         '89 Fed. Reg. 5562-5571 (Jan. 29, 2024)
-Ukraine        '21-Aug-2023    18 months         '88 Fed. Reg. 56872-56880 (Aug. 21, 2023)
-Ukraine         17-J811-2025   18 months         '90 Fed. Reg. 5936-5944 (Jan. 17, 2025)
-V€n€zugla       8-S€P-2022     18 months         '87 Fed. Reg. 55024-55032 (Sept. 8, 2022)
-V€n€zugla      `3-0Ct-2023     18 months         '88 Fed. Reg. 68130-68139 (Oct. 3, 2023)
-V€n€zugla       17-J811-2025   18 months         '90 Fed. Reg. 5961-5972 (Jan. 17, 2025)
-Y€m€n           4-J8N-2017     18 months          82 Fed. Reg. 859-866 (Jan. 4, 2017)
-Y€m€n          '14-Aug-2018    18 months         '83 Fed. Reg. 40307-40313 (Aug. 14, 2018)
-Y€m€n           2-Mat-2020     18 months         '85 Fed. Reg. 12313-12319 (Mar. 2, 2020)

                                             32
                Case: 25-2120, 04/11/2025, DktEntry: 11.1, Page 40 of 40



-Y€m€n          `9-Jul-2021     -18 months        ' 86 Fed. Reg. 36295-36302 (July 9, 2021)
-Y€m€n            3-J8N-2023     18 months            '88 Fed. Reg. 94-103 (Jan. 3, 2023)
-Y€m€n           '10-Jul-2024    18 months            '89 Fed. Reg. 56765-56773 (July 10, 2024)
-Burundi          2-S€P-2005     12 months             70 Fed. Reg. 52425-52429 (Sept. 2, 2005)
-Burundi          14-S€P-2006    12 months            '71 Fed. Reg. 54300-54304 (Sept. 14, 2006)
-El Salvador     '15-Jun-2006    12 months             71 Fed. Reg. 34637-34641 (June 15, 2006)
-Honduras         31-Mat-2006    12 months            '71 Fed. Reg. 16328-16333 (Mar. 31, 2006)
-Libgtia         '16-Aug-2005    12 months            '70 Fed. Reg. 48176-48179 (Aug. 16, 2005)
-Nicaragua        31-Mat-2006    12 months            '71 Fed. Reg. 16333-16338 (Mar. 31, 2006)
-Somalia         '29-Jul-2005    12 months            '70 Fed. Reg. 43895-43899 (July 29, 2005)
-Guinea           22-Mat-2016    6 months             '81 Fed. Reg. 15339-15345 (Mar. 22, 2016)
-Haiti           '24-May-2017    6 months             '82 Fed. Reg. 23820-23837 (May 24, 2017)
-Honduras         15-D€C-2017    6 months              82 Fed. Reg. 59630-59636 (Dec. 15, 2017)
-Libgtia          22-Mat-2016    6 months             '81 Fed. Reg. 15328-15334 (Mar. 22, 2016)
'Sierra Leone    '22-Mar-2016    6 months             '81 Fed. Reg. 15334-15339 (Mar. 22, 2016)
                                                  l




                                             33
